Case 2:16-cv-05224-SVW-AGR Document 108 Filed 10/27/16 Page 1 of 1 Page ID #:1795




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:


                                                                  2:16−cv−05224−SVW−AGR
    TRAVIS MIDDLETON, et al.
                                                Plaintiff(s),

             v.
    RICHARD PAN, et al.
                                                                 RESPONSE BY THE COURT TO NOTICE TO
                                              Defendant(s).           FILER OF DEFICIENCIES IN
                                                                  ELECTRONICALLY FILED DOCUMENTS




    In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents
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                                                Certificate of Service / Proof of Service

    Date Filed                  Doc. No.      Title of Doc.
    IT IS HEREBY ORDERED:
           The document is accepted as filed.




                                                            Clerk, U.S. District Court

    Dated: October 27, 2016                                 By: /s/ Karl Lozada
                                                               Deputy Clerk


    cc: Assigned District Judge and/or Magistrate Judge




    G−112B (01/07)   RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
